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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                             CR 18–08–BU–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 TARVAN LEONARD HANKS,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on September 11, 2018. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Tarvan Leonard Hanks’ guilty

plea after Hanks appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of conspiring to commit

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mail fraud in violation of 18 U.S.C. § 371 as set forth in Count I of the Indictment.

In exchange for Defendant’s plea, the United States has agreed to dismiss Counts

II and III of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

39), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Tarvan Leonard Hanks’ motion to

change plea (Doc. 27) is GRANTED and Tarvan Leonard Hanks is adjudged

guilty as charged in Count I of the Indictment.

      DATED this 1st day of October, 2018.




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